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                                                                           U.S. DISTRICT COURT E.D.N.Y.

   UNITED STATES DISTRICT COURT                                                   MAY 17
   EASTERN DISTRICT OF NEW YORK
                                                                             BROOKLYN OFFICE

   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                        No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



         STATEMENT OF OBJECTIONS OF CLASS MEMBER WHEELS OF CT.INC.

           Wheels of CT, Inc. (hereinafter "Company") accepted Visa and Mastercard transaction
   cards at each of its twenty-seven individual retail locations between 2004 and the present date.
   Company is a member ofthe Rule 23(b)(3)settlement class in this case, and it has not engaged in
   any other settlement of its claims against Visa and/or Mastercard. Company hereby submits its
   objections to the proposed settlement preliminarily approved by the Court in January ofthis year.
          Company's principal place of business is located at 497 Bic Drive, Milford, CT 06461.
   Company is a petroleum marketer engaged in the wholesale and retail sale ofbranded motor fuels.
   Since 2004, it has accepted Visa and Mastercard transaction cards at retail service station and
   convenience store locations. Motor fuels at these locations have been sold under the Citgo, BP,
   Gulf, and Sunoco brands since 2004, and the credit card transactions at each location were
   processed by the applicable branded supplier.

           Company is concemed that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement fund
   for transactions at retail locations where Company accepted the applicable Visa or Mastercard
   transaction cards and paid the interchange fees. Company understands that the Court has indicated
   that class counsel cannot represent both the branded suppliers and branded marketers, like
   Company, because only one of the two groups is entitled to settlement funds attributable to
   Company's retail locations. None of the class representatives were branded marketers, and
   branded marketer interests were not represented when fiie settlement was negotiated. Nor are they
   adequately represented now by a conflicted class counsel who are incapable ofasserting branded
   marketer interests when they conflict with the interests of major oil companies.
          As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
  recovery, or whether any mechanism is in place to sort all ofthis out. Nothing in the Class Notice
  states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
  for transactions at these locations. In short, Company is concemed that it is being deprived ofits
  legal right to fully participate in the settlement.

         In addition to not knowing what recovery Company may be entitled to as part ofthe class
  settlement, we do not believe that proper efforts are being made to notify branded marketers, like
  Company, so that they can object to the settlement. Although some of Company's individual
  locations were sent Class Notices from the Claims Administrator, other branded petroleum
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   marketers have received no notice even though they accepted the cards, and paid the fees, during
   the relevant period. The names and addresses ofbranded petroleum marketers,like Company,can
   be obtained by the Claims Administrator from the branded suppliers.
          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted.

                                               Wheels ofCT,Inc.


                                               By: Thomas Wiehl




                                               General Counsel
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